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                    IN THE UNITED STATES DISTRICT COURr                         FILED
                    FOR THE EASTERN DISTRICT OF VIRGINI
                                      Norfolk Division
                                                                            APR 1 2 2010
 BRIDGETT EDWARDS
                                                                       CLEpk, U.S. DISIRICT COUF T
 135 Center Street                                                            NORFOLK. VA
 Emporia, Virginia 23847



                   PLAINTIFF,


 v.                                                      CIVIL ACTION NO.
                                                                         /; lea/

 MURPHY- BROWN, L.L.C.,


                DEFENDANT.
                                                          PLAINTIFF DEMANDS
 Serve:    CT Corporation Systems                         TRIAL BY JURY
           Registered Agent
           Murphy - Brown, L.L.C.
           4701 Cox Road, Ste. 301
           Glen Allen, Virginia 23060




                                        COMPLAINT


           COMES NOW Plaintiff BRIDGETT EDWARDS ("Plaintiff), by counsel, and

  for her Complaint against Defendant, MURPHY-BROWN L.L.C. ("Defendant") of the

  City of Waverly, Virginia, states as follows:


                                NATURE OF THE CLAIMS


           This is an action for declaratory relief, compensatory damages, and other


  appropriate relief, legal and equitable brought by Plaintiff to redress Defendant's

  unlawful employment practices of sex discrimination, sexual harassment, and retaliation

  in violation of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. as amended,

  (Supp. II. 1991) ("Title VII").
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                                 JURISDICTION AND VENUE


  1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and

  1343 because this action involves federal questions regarding the deprivation of

  Plaintiffs rights under federal civil rights laws.

  2.        Venue is proper in this district pursuant to § 2000e-(5)(f)(3), because the

  unlawful employment practices occurred in this district, the relevant employment records

  are maintained and administered in this district, and pursuant to 28 U.S.C. § 1391(b),

  Defendant is located in this district.


                                            PARTIES


  3.           Plaintiff is an African American female citizen of the United States of America

  and at all times relevant to this cause of action, was a resident of Franklin, Virginia and

  an employee of defendant Murphy-Brown, L.L.C.

  4.      Defendant, at all times relevant to this cause of action, has been organized and

  existing under the laws of the Commonwealth of Virginia, and qualified to do business in


  the Eastern District of Virginia.


  5.      Defendant is an "employer" within the meaning of sections 703(a) and 704(a) of

  Title VII in that it employed more than the requisite number of persons for duration under

  Title VII.


                               PROCEDURAL REQUIREMENTS


  6.           Plaintiff filed a timely charge of sex discrimination, sexual harassment, and

  retaliation, against Defendant with the United States Equal Employment Opportunity


  Commission ("EEOC"), and received her Notice of Right to Sue within Ninety (90) days

  of filing this action.
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                                 FACTUAL ALLEGATIONS


  7.          Plaintiff began working for Defendant on or about April 8, 1996.

  8.          Defendant owns and operates a hog breeding and farrowing facility at Farm

  8508 ("Farm 8") in Wakefield, Virginia. Plaintiff has worked solely on Farm 8 in the

  farrowing department of the farm since she began her employment with Defendant.           IN

  this area the hogs are brought to deliver their litter after successful impregnation in

  breeding area of the farm.

  9.          Plaintiffs duties included taking care of the pregnant sow, assisting their labor

  and delivery, maintaining the health of the sows, administering medication as indicated

  and prescribed, operating the feeders and watering nipples, cleaning and sanitizing the

  area, and processing the newborn sows to the nursery to await transfer for market sale.

  10.         Plaintiff obtained high job performance evaluations throughout her employment

  and was promoted from her starting position of production technician to herds person

  four (4).


   11.        Between 2003 and the time of the event, defendant began hiring a number of

  Hispanic males to work on the hog farms.          These employees included, but were not


  limited to, Umberto Santiago, Miguel Vazquez, Salvador Hernandez, Jose Rodriquez,

  Ignacio Rosario, Miquel Navarro, and Leonardo (Talon) Rodriquez.

   12.          During this time, Plaintiffs Hispanic co-workers began engaging in a series

  of offensive, humiliating and sexually harassing acts including but not limited to:

                        A. Touching plaintiff on the shoulders;


                        B. Rubbing Plaintiffs leg and foot;
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                     C. Subjecting Plaintiff to extraordinary scrutiny;

                     D. Making disparaging remarks about Plaintiffs race

                      E. Smirking, laughing, and gesturing towards Plaintiff.

  13       As of 2006, only one other female, Felicia Tennessee, worked with Plaintiff in

  the farrowing room.   This female was also subjected to the same type of humiliating,

  offensive and sexually harassing conduct by the male employees, including offensive

  rubbing of her arms and making sexual comments to her.             Both females after each

  demanded that the males stop the harassment and reported the behavior to their

  immediate supervisor. The management took no disciplinary action against these male

  employees. The sexual harassment against Plaintiff persisted.

  14.      Upon information and belief, Plaintiff learned that one of the workers had been

  caught masturbating in a woman's panties on a nearby farm. Some of the male workers

  on the farm where Plaintiff worked laughed and talked about the incident in Plaintiffs

  presence. Management was informed, but, took no disciplinary action against these

  employees.    The sexual harassment against Plaintiff persisted.


   15.     A graphic sexual picture depicting a male and female sex organs was drawn on

  one of the sow processing cards which was sent with the transferred hogs from the

  breeding area, where Miquel Navarro and Leonoardo Talon worked, to the farrowing

  room where the two female employees, Plaintiff and Felicia Tennessee.              Plaintiff

  informed her supervisor, but no disciplinary action or investigation took place.       The


  sexual harassment against Plaintiff persisted.


  16.       Plaintiffs co-workers spoke very little English. Plaintiff was able to detennine

  from the scant Spanish she understood that the male employees were describing female
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 body parts and pointing to Plaintiff and her coworker, further subjecting plaintiff to a

 hostile and abusive work environment and adding to Plaintiffs embarrassment and

 humiliation.


  17.          In December 2007, in violation of Defendant's policy, Miquel Navarro brought

 a digital camera to work and took Plaintiffs picture against her wishes. This violation

 was reported, but no action was taken. The men continued to group together and talk

  among themselves while pointing and gesturing towards Plaintiff and her female co-

  worker.       Even though this conduct was reported to management, they took no

  disciplinary action against these employees.     The sexual harassment against Plaintiff

  persisted.

  18.          Because Defendant breeds hogs for human consumption, it requires farm

  employees to follow strict sanitary procedures. Plaintiff and her female co-worker were

  therefore required to shower before entering the farrowing room and put on their

  uniforms. At the close of the day they changed out of their work uniforms and usually

  showered before going home. At all relevant times, Plaintiff and Bridgett Edwards were

  the only females in the farrowing room and on the entire farm except for one female

  supervisor, Honor Lee Flournoy. They underwent the shower routine on a daily basis.

  19.          On or about January 24, 2008, Plaintiff and her female co-worker, Felicia

  Tennessee entered the women's shower room to shower before leaving for the day. Due

  to the cold outdoor temperature, both females decided after entering the shower room to

  just disrobe, forego the shower, and change into their street clothes..        When Ms.

  Tennessee opened the door to the shower room to exit into the area where the sinks were

  located, she encountered Salvatore Hernandez kneeling against the shower door.
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  Surprised by the door opening, Salvatore fell into the women's shower room.        Upon

 seeing Plaintiff and Ms. Tennessee, Salvatore jumped up and ran out of the area.

 20.        An examination of the door revealed three drilled holes in the door, two at the

  level of the doorknob and one hole at eye level on the door, which could only be detected

  with the lights off.

  21.       At the time of the occurrence, Plaintiff, Ms. Tennessee and Salvatore were the

  only employees on the farm. Therefore, Plaintiff reported the incident to her supervisor

  on the next day, who advised her that she could have someone patch up the holes, but

  would not replace the door.


  22.       When Plaintiff later asked Ms Flournoy, what the employer planned to do about

  the women's shower door and the employees who had peeped at the women through the

  drilled holes, Ms. Flournoy replied that she had done all she could do. She did not plan

  to fire Salvatore or determine how many other male employees might be involved

  because to fire any of the male employees would leave the farm short-handed.

  23.       When Plaintiff informed the production manager Lewis Epps, who was Ms.

  Flournoy's supervisor, about the incident and her fear of working alone in her area and

  taking showers, Mr. Epps laughed about the holes in the women's shower door and

  proposed that perhaps the women had drilled the holes in the door themselves. Short of

  patching the holes, the management took no other action and failed to investigate the

  matter. When Plaintiff called Laura Brooks, assistant manager at Human Resources, she

  discovered that none of her reports had reached the office and no disciplinary measures


  would be taken against any of the offending male employees.
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 24.       Salvatore continued to work on the farm in his same area as did any other male

 employees who participated, or, may have participated, in peeking into the women's

 shower room with him. Management never investigated to see who was involved. No

 one was disciplined.

 25.       When Plaintiff continued to describe her humiliation and her fear of working

 among the male employees, management informed Plaintiff it was going to transfer

 Plaintiff and her female co-worker Felicia Tennessee to another farm. Plaintiff was told

  to report to the new farm on February 1, 2008, a farm, where it was Plaintiff understands,

  that the male employees participated in the same type of sexual harassing behavior as

  they did at Farm 8.

  26.       Plaintiff has been under the care of physicians since the shower door incident

  for anxiety attacks, depression and stress.

  27.       Salvatore Rodriquez was later arrested, fined and sentenced for his criminal

  behavior of peeping at the women through the drilled holes in the women's shower room,

  but only after Plaintiff reported his actions to the police.     His arrest occurred solely

  because Plaintiff reported his crime to the police department. Defendant never called the

  police to report Salvatore's criminal act.    Only after Salvatore was arrested and taken

  away from Farm 8, and charged and sentenced, did Defendant terminate him.

                                            COUNT I
                          (Sexual Harassment in violation of Title VII).



  28.        Plaintiff herein restates and re-alleges by reference each and every allegation in

  1fl[ 1-27 as if set forth fully herein.
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  29.      Defendant has discriminated against Plaintiff on the basis of her gender in

  violation of Title VII by allowing continual sexual harassment of Plaintiff by her male

  co-workers thereby creating a sexually hostile environment.

  30.      Defendant has discriminated against Plaintiff on the basis of her gender in

  violation of 42 U.S.C. § 1981 by fostering, accepting, ratifying and/or failing to prevent a

  sexually hostile work environment that included among other things, severe and

  pervasive sexual harassment of Plaintiff by her male co-workers.

  31.       Defendant has discriminated against Plaintiff on the basis of her gender in

  violation of 42 U.S.C. § 1981 by engaging in, tolerating or failing to prevent the sexual

  harassment as alleged above and by failing to take adequate affirmative action to correct

  and redress the unlawful employment practices perpetrated against the Plaintiff.

  32.       Plaintiff believes and avers that the effect of Defendant's sexual harassment and

  unlawful employment practices against her has been to limit, classify and discriminate

  against her in ways that jeopardize and tend to deprive her of her equal employment

  opportunities in violation of 42 U.S.C. § 1981.


  33.       Plaintiff is now suffering and will continue to suffer irreparable injury from this

  unlawful discrimination.


  34.       Defendant is liable for the sexual harassment and unlawful employment

  practices against Plaintiff because even though Plaintiff informed Defendant about the

  sexual harassment, Defendant did not respond with remedial action reasonably

  calculated to end the harassment.        Equal Employment Opportunity Commission v.


  Central Wholesalers, Inc., 573.3d 167, 177 (4th Cir.2009).
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 35.       As a direct and proximate result of Defendant's discriminatory conduct in

 violation of § 1981, Plaintiff has suffered, and continues to suffer monetary and/or

 economic harm, including, but, not limited to, loss of past and future income,

 compensation, and benefits for which she is entitled to an award of damages and other

 relief.

 36.        As a direct and proximate result of Defendant's discriminatory conduct in

 violation of 42 U.S.C. § 1981, Plaintiff has suffered, and continues to suffer severe

 mental anguish and emotional distress, including but not limited to depression,

 humiliation, embarrassment, stress and anxiety, loss of self-esteem and self confidence,

  and emotional pain and suffering for which she is entitled to an award of damages.

                                             COUNT II


              (Sexual Discrimination and Retaliation in Violation of Title VII)

  37.        Plaintiff herein restates and re-alleges by reference each and every allegation in

  Ifll 1-36, as if set forth fully herein.

  38.        Defendant has discriminated and retaliated against Plaintiff on the basis of her

  gender in violation of Title VII by denying her a hostile free work environment free of

  unlawful discrimination and harassment. When Defendant was put on notice of the male

  workers' unwelcome sexual acts and invasion of Plaintiffs privacy by watching her and

  another female co-worker in the shower room, Defendant's informed Plaintiff that she

  and her female co-worker were to be transferred to another farm instead of disciplining

  the perpetrators for their harassment.


  39.        Plaintiff had never worked on the farm to which she was being transferred.

  Further, upon information and belief, Plaintiff was aware of ongoing unlawful sexual
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  conduct at this new assignment.      In essence, Plaintiff was being transferred from one

  hostile work environment to another while the perpetrators remained undisciplined, and

  employed in the same area of their present employment.

  41.         As a direct and proximate result of Defendant's discriminatory conduct in

   violation of Title VII, Plaintiff has suffered, and continues to suffer monetary and/or

   economic harm, including, but, not limited to, loss of past and future income,

   compensation, and benefits for which she is entitled to an award of damages and other

   relief.

   42.        As a direct and proximate result of Defendant's discriminatory conduct in

   violation of Title VII, Plaintiff has suffered, and continues to suffer severe mental

   anguish and emotional distress, including but not limited to depression, humiliation,

   embarrassment, stress and anxiety, loss of self-esteem and self confidence, and emotional

   pain and suffering for which she is entitled to an award of damages.

                                    PRAYER FOR RELIEF


             WHEREFORE, Plaintiff prays this Court enter judgment for Plaintiff and

   against Defendant, and order the following relief:

             A.    A declaratory judgment that the actions, conduct and practices of

   Defendant complained of herein violate the laws of the United States.

             B.    An order directing Defendant to place Plaintiff in the position she would

   have occupied but for Defendant's discriminatory treatment and unlawful conduct,

    including, but not limited to: (1) reinstatement of job status and rank on Farm 8; (2)

   assurance that the effects of Defendant's employment practices will not continue to affect




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  Plaintiffs employment and personal life; and (3) assurance that Plaintiffs position for

  future promotions and all other job benefits remain intact and unaffected by this lawsuit.

             C.   An award of damages of Five Hundred Thousand Dollars ($500,000.00)

  plus prejudgment interest, to compensate Plaintiff for harm to her professional and

   personal reputations and loss of career fulfillment, mental anguish, humiliation,

   embarrassment, stress, anxiety, emotional pain and suffering, emotional distress, and all

   monetary and/or non-monetary losses suffered by Plaintiff.

             D.   An award of costs and expenses incurred by Plaintiff in this action, and

   Plaintiffs attorneys' fees to the fullest extent permitted by law this action.

             E.   Such other and further relief to Plaintiff as the Court deems just and

   proper.




                                                  Respectfully submitted,
                                                  BR1DGETT EDWARDS




                                                                  Counsel




   Henry L. Marsh, III, VSB No. 05691
   Frederick H. Marsh, VSB No. 40133
   Hill, Tucker & Marsh
   422 E. Franklin Street, Suite 301
    Richmond, VA, 23219-2226
    Phone (804) 648-9073
    Facsimile (804) 648-2116




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